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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                 8:05CR86
           v.                        )
                                     )
HEATHER M. ELLIS,                    )
                                     )                   ORDER
                Defendants.          )
                                     )




     IT IS ORDERED:

     Defendant’s motion to modify conditions of confinement,
filing 105, is granted and permission is granted for defendant to
receive her Depo-Provera shot.

     DATED this 26th day of October, 2005.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
